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Amy B. Jackson Date
rev United States District Judge

 

February 15, 2020
U.S. District Court for the District of Columbia
Attention: Judge Amy Berman Jackson
333 Constitution Avenue, N.W.
Washington, D.C. 20001
Re: A Citizen’s Opinion 4g . ¢ g
United States vs Roger Stone / C ~ O |
Dear Honorable Judge Amy Berman Jackson:

| am simply a 70 year old widower, retired, and a former registered Republican, now a Democratic
after moving from Maryland to Massachusetts about a year ago. Previously employed for 30 years

by New York University, and having been exposed to a father-in-law (now deceased) who was a

circuit court judge in Isle of Wight County, VA., | have been closely following the Trump saga, since

he became President, including the Mueller investigation, the Emoluments matter (his D.C. Hotel/
General Svcs Admin.), his Inauguration Committee issues, immigration policy (Steven Miller et al),

The Wall (now heading to $11 billion), trade battles, climate change objections, and all the rest.

All that was discouraging enough, including the Impeachment outcome (foretold by Sen. McConnell),
however, in my mind the straw which broke the camel’s back was the recent disclosures of the
undercounter (or, in the open “tweets”) dealings between President Trump and AG William Barr,
surrounding the Stone verdict, reached by a jury, and the related pending sentence. Barr’s involvement
since “Mueller”, in my mind, totally strays from what his job.is supposed to entail: his (as noted by the
media, “Trumps’ Roy Cohen”) absolute lack of independence from the White House. Trump has now
broken down the last bastion of “norms”, vis a vis The Justice Dept. He already has penetrated the State
Dept., Treasury, Education, OMB, Homeland Security (now has prevented FOIL requests to one of its
divisions), and Heaven knows how it happened that the former U.N. Ambassador has now come to his
side.

We knew that AG Barr had previously been “fishing” into the Stone case, and my fear (now realized) was
that he would impinge on the Southern Dist. of N.Y. matters, as well, which he has also apparently (?)
been able to close down. Thus, the public wonders: Where do we go now-become a so-called autocracy
or “banana republic”, with Putin laughing all the way? | regret that Rep. Jerry Nadler did not pursue the
‘court’ route in the Impeachment case, and the Republicans ‘burned’ the Managers over that.
Nevertheless, the courts (albeit Trump/McConnell have been ‘working’) may be a last hope of a barrier
for supporting the idea of fair justice, and the rule of law. Accordingly, you obviously have been already
attacked by Trump, who only recognizes an opponent who has strength, and we, the public, are sure
that, aside from the pressure upon you, will provide the conviction of your jurisprudence, and the
history of the judicial system in the U.S. in the rendering of the upcoming sentence decision in the Stone
matter. It is realized that Pres. Trump will likely issue a pardon, but your role still creates a “marker” that
is important, and | thank you for protecting the integrity and independence of the role of a judge.

 

 
